 Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 1 of 22




      In the United States Court of Federal Claims
                                 No. 06-489T
                          (Filed: February 13, 2009)

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GENERAL ELECTRIC COMPANY
and SUBSIDIARIES,

             Plaintiff,                                Corporate Income
                                                       Tax, Sections 6402(a),
v.                                                     6621(d), 6611(b)(1),
                                                       and 6601(f), Interest
THE UNITED STATES,                                     Netting, Crediting

             Defendant.

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      Jerome B. Libin, Washington, DC, with whom were James V.
Heffernan, and Mary E. Monahan, for plaintiff. Laurence A. Hoch, of counsel.

       William C. Rapp, United States Department of Justice, Tax Division,
Court of Federal Claims Section, Washington, DC, with whom were Nathan
J. Hochman, Assistant Attorney General, Steven I. Frahm, Acting Chief, Court
of Federal Claims Section, and Mary M. Abate, Assistant Chief, Court of
Federal Claims Section, for defendant.

                                 OPINION

BRUGGINK, Judge

       Pending in this tax case is defendant’s motion to dismiss under Rule
12(b)(6) of the Rules of the Court of Federal Claims (“RCFC”).1 The case
poses a novel question concerning the interplay between the Internal Revenue


      1
        As defendant’s motion to dismiss under RCFC 12(b)(6) was filed after
defendant filed the answer on October 30, 2006, the court elects to construe
the defendant’s motion to dismiss under RCFC 12(b)(6) as a motion for
judgment on the pleadings under RCFC 12(c), noting that the legal standard
applied under RCFC 12(c) is the same as for a motion to dismiss under RCFC
12(b)(6). Peterson v. United States, 68 Fed. Cl. 773, 776 (2005).
 Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 2 of 22



Service’s authority to credit a tax overpayment against an outstanding tax
liability under 26 U.S.C. § 6402(a) (2000) and provisions regarding the
application of interest netting contained in 26 U.S.C. § 6621(d).2

        The motion has been fully briefed. In addition to regular briefing, the
parties were ordered to file a joint demonstrative that was intended to explain
certain interest calculations involved in the case. On October 3, 2008, the
parties filed the joint demonstrative, which was composed of eight charts. The
parties were able to agree that Charts 1 through 5 accurately depicted the
proper computation of interest in the hypothetical situations depicted, although
they did not agree that all of the principles of interest computation contained
in the charts are relevant to the determination of the case. Charts 6 through 8,
however, were submitted solely by plaintiff and not agreed to by defendant.

         On November 17, 2008, the court heard oral argument solely with
respect to the joint demonstrative. At oral argument, plaintiff was directed to
file a supplemental demonstrative explaining plaintiff’s view of certain interest
calculations. This supplemental demonstrative was filed on December 2,
2008. Charts 1 - 5 and 6A and 8A from the two demonstratives are attached
as Appendix A. A second oral argument was held on February 4, 2009
addressing the merits of the defendant’s motion. Accordingly, the case is now
ready for disposition. For the reasons set out below, we grant defendant’s
motion.

                                  BACKGROUND 3

       In April of 1992, the Commissioner of Internal Revenue
(“Commissioner”) mailed a statutory notice of deficiency to General Electric
Company (“GE”) regarding its corporate income tax for the 1979 taxable year.
GE subsequently disputed this deficiency by filing a petition for a
redetermination with the United States Tax Court.

        In September 1999, the Tax Court entered a decision determining that
GE had an overpayment for the 1979 taxable year in the amount of
$37,170,101, exclusive of interest. At the same time, however, GE and the
Internal Revenue Service (“IRS”) reached an agreement that GE was also


       2
           All subsequent code citations will be to Title 26 for the applicable year.
       3
           These facts are taken from the complaint.

                                           2
 Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 3 of 22



liable for deficiencies of its corporate income tax for the years 1986 and 1987
in the amounts of $70,617,583 and $401,813,144 respectively. This agreement
was memorialized by execution of a Form 870-AD, “Offer to Waive
Restrictions on Assessment and Collection of Tax Deficiency and to Accept
Overassessment.”

       Also in October 1999, cash bonds which had been posted in 1987 and
1991 in order to stop the running of interest on the underpayments for 1986
and 1987 were converted into payments of tax and interest for the 1986 and
1987 underpayments. On December 21, 1999, GE filed Form 843 requesting
that, under Section 6621(d) and Section 3301(c)(2) of the Internal Revenue
Service Restructuring and Reform Act of 1998, Pub.L. No. 105-206, §
3301(a), 112 Stat. 685, 741, interest netting be applied to periods of
overlapping overpayments and underpayments, including between March 15,
1987 and February 22, 1991 and between March 15, 1988 and February 22,
1991.

       In July 2000, the IRS performed interest computations reflecting its
intended final resolution of GE’s overpayments and underpayments for the
various years in question. Pursuant to these computations, the IRS would post
an abatement to plaintiff’s income tax account for 1979 in the amount of the
tax overpayment that had been determined by the Tax Court, $37,170,101. In
addition, $3,772,301 in deficiency interest that had previously been assessed
would be posted as an abatement to the 1979 account, along with overpayment
interest in the amount of $43,993,361. These abatements and credits to the
1979 account resulted in an overpayment for 1979 in the total amount of
$84,935,763. In August of 2000, these abatements and credits were actually
posted. The result was that the overpayments were credited to GE’s 1986 and
1987 accounts in partial satisfaction of the tax underpayments for these taxable
years: $32,267,222 was applied to the 1986 account and $52,668,541 was
applied to the 1987 account.

       Plaintiff claims that the IRS’s crediting of the 1979 overpayment,
including interest, against plaintiff’s income tax liability for the 1986 and 1987
taxable years was “null, void and ineffective.” (Complaint ¶ 29.) Therefore,
because the 1979 overpayment was improperly credited to the 1986 and 1987
tax accounts, plaintiff argues that it is entitled to a refund of overpayment for




                                        3
 Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 4 of 22



the 1979 taxable year in the amount of $37,170,101 plus statutory interest.4 If
the court grants defendant’s motion for judgment on the pleadings, the entire
complaint fails.

                                 DISCUSSION

      Defendant argues that it credited GE’s 1979 overpayment against GE’s
1986 and 1987 underpayments under the authority provided by Section
6402(a). Section 6402(a) gives the Commissioner discretion to credit a
taxpayer’s overpayment of tax against that same taxpayer’s outstanding
underpayment of tax:

      In the case of any overpayment, the Secretary, within the
      applicable period of limitations, may credit the amount of such
      overpayment, including any interest allowed thereon, against any
      liability in respect of an internal revenue tax on the part of the
      person who made the overpayment and shall, subject to
      subsections (c), (d) and (e), refund any balance to such person.

Section 6402(a). The credit is therefore, dollar for dollar, the equivalent of a
payment of a tax liability by the taxpayer. Neither the taxpayer nor the IRS are
left owing anything to the other, at least to the extent of exact overlap. Chart
2 of the joint demonstrative illustrates the effect of crediting in a hypothetical
scenario approximating the facts of this case. After a final determination of the
overpayment amount owed to the taxpayer and the underpayment amount
owed to the IRS, the IRS applies, or credits, the taxpayer’s overpayment
against the contemporaneous and equivalent underpayment, resulting in the
elimination of the balance in both accounts and retroactively eliminating the
subsequent interest for both the overpayment and the underpayment during the
period of what had been an overlap.



       4
          In Count II, plaintiff claims that it has a contract with the United
States, and that the Government has breached this contract with plaintiff by
crediting the 1979 overpayment, plus interest, against portions of the 1986 and
1987 underpayments. In Count III, plaintiff claims that, as a result of the
crediting by the IRS of the 1979 overpayment, plaintiff has not been paid the
amount of interest on the 1979 overpayment which it would have been paid
had the crediting not taken place. We do not view the additional counts as
creating additional issues.

                                        4
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 5 of 22



        The second IRC provision implicated in this case, Section 6621(d),
institutes a net interest rate of zero on a taxpayer’s simultaneous overpayments
and underpayments. This is advantageous because, under the IRC, corporate
taxpayers are assessed a higher interest rate on their tax underpayments than
the interest rate they earn on their tax overpayments. Sections 6621(a)(2),
6621(c). Section 6621(d) reads:

        To the extent that, for any period, interest is payable under
        subchapter A and allowable under subchapter B on equivalent
        underpayments and overpayments by the same taxpayer of tax
        imposed by this title, the net rate of interest under this section on
        such amounts shall be zero for such period.

The application of this zero net interest rate to simultaneous, or overlapping,
tax overpayments and underpayments “for the purpose of interest equalization
is referred to as ‘global interest netting.’” Fed. Nat’l Mortgage Ass’n v. United
States, 69 Fed. Cl. 89, 90 (2005).

        This section was enacted as part of the Internal Revenue Service
Restructuring and Reform Act of 1998, Pub.L. No. 105-206, § 3301(a), 112
Stat. 685, 741. Fed. Nat’l Mortgage Ass’n, 69 Fed. Cl. at 90. In enacting this
section, the legislature also included an uncodified “special rule” which
permitted taxpayers “to apply Section 6621(d) to periods prior to the statute's
effective date of July 22, 1998, ‘subject to any applicable statute of limitations
not having expired with regard to either a tax underpayment or a tax
overpayment.’ Id. (citing Pub.L. No. 105-206, § 3301(c)(2), 112 Stat. 685,
741 (1998), as amended by Pub.L. No. 105-277, § 4002(d), 112 Stat. 2681-906
(1998)).

        As applied to a hypothetical scenario approximating the facts of this
case, the difference in interest rates for corporate taxpayers is illustrated by
Chart 1 of the joint demonstrative. In Chart 1, absent crediting by the IRS or
the application of Section 6621(d), the taxpayer’s overpayment accrues interest
at the lower interest rate while, simultaneously, the taxpayer’s underpayment
accrues interest at the higher interest rate. When there are overlapping periods
of equivalent tax underpayments and overpayments, however, Section 6621(d)
entitles a taxpayer to the application of a net zero interest rate.

       The parties were also able to agree to at least two scenarios in which
interest netting under Section 6621(d) is applicable. These are illustrated
graphically in Charts 3 and 4 of the joint demonstrative. Chart 3 illustrates that

                                         5
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 6 of 22



interest netting is applicable when an audit of a taxpayer’s returns for a number
of taxable years is conducted by the IRS revealing that there is an overpayment
by a taxpayer for a certain taxable year and that there is also a simultaneous
underpayment by that same taxpayer for a different taxable year in an equivalent
amount. Although the overpayment and underpayment occur in separate taxable
years, the periods in which the overpayment and underpayment accrue interest
are concurrent. In this first scenario, however, the overpayment is discovered
in the course of the auditing process before the underpayment, and the
overpayment amount is refunded by the IRS before the underpayment is
discovered. The IRS is therefore unable to credit the overpayment amount under
Section 6402(a) against the underpayment amount because the overpayment has
already been refunded along with interest accrued at the lower overpayment rate.
Because crediting is unavailable due to the prior refund to the taxpayer of the
overpayment amount plus overpayment interest, the IRS will not credit but
instead will apply Section 6621(d) interest netting, by reducing the higher
interest rate for the underpayment to equal the lower interest rate for the
overpayment for the period in which the overpayment and underpayment
overlapped. Thus, the taxpayer is afforded relief from the unfavorable interest
rate differential. The taxpayer will only have to pay the underpayment amount
plus the lower interest rate on the equivalent underpayment amount.

        In the second scenario, illustrated in Chart 4, the payment of the refund
of the overpayment amount and the satisfaction of the underpayment amount are
reversed chronologically. Again, in this scenario, an audit is conducted
revealing an underpayment by a taxpayer for a certain taxable year and a
simultaneous equivalent overpayment by that same taxpayer for a different
taxable year. The overpayment and underpayment periods overlap. In this
scenario, however, the underpayment amount, along with the higher
underpayment interest, is satisfied with a payment by the taxpayer before the
overpayment is discovered in the auditing process. Once again, because
crediting is unavailable due to the prior satisfaction of the underpayment amount
along with the accrued underpayment interest, the IRS will apply interest netting
by raising the lower interest rate for the overpayment to equal the higher interest
rate for the underpayment for the period in which the overpayment and
underpayment overlapped. The taxpayer is thus owed a refund of the
overpayment plus interest, during the period in which the overpayment and
underpayment overlapped, at the higher underpayment rate which will ultimately
make up for the previous payment in satisfaction of the underpayment interest
that accrued at the higher rate.

       In most circumstances, the effect of either crediting or netting would be

                                        6
   Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 7 of 22



the same. Crediting would be available when the existence of offsetting
balances is discovered prior to both a refund and a payment by the taxpayer.
Under crediting, the outstanding positive balance is eliminated, dollar for dollar,
by applying it to the outstanding unpaid balance for another tax year. The result
is that there is no outstanding balance against which interest would accrue in
terms of either over or under payment. Interest netting, however, would apply
when there has been either a refund by the IRS of the overpayment or a payment
of an underpayment prior to the discovery of the offsetting balances. If crediting
occurs, however, the fact that it makes interest netting unavailable, or, indeed,
unnecessary, would be inconsequential. The effect on the taxpayer would be the
same in either circumstance. Consequently, the court pressed the parties, and
particularly the plaintiff, to explain why the use of crediting in this instance was
prejudicial to plaintiff.

        Plaintiff suggests that its view of the law is potentially advantageous
because of a 2006 redetermination of plaintiff’s 1986 and 1987 accounts that
resulted in a reduction in tax liability for those years. Plaintiff appears to argue
that plaintiff’s posting of cash bonds should alter the landscape of the interest
calculations in 2000 and render crediting momentarily disadvantageous to
plaintiff.5 In plaintiff’s response to defendant’s motion to dismiss, plaintiff
states:

        In a number of circumstances, there is a difference between
        interest netting and crediting. In the instant case, the difference
        is significant because of the fact that GE posted non-interest
        bearing cash bonds at periodic intervals to stop the running of
        underpayment interest pending a final resolution of the disputed
        issues. Under interest netting, the cash bonds could be applied to
        pay not only the underpayments themselves, but also the accrued
        underpayment interest, thus ensuring that the cash bonds would be
        used to their maximum extent. On the other hand, under crediting,
        the cash bonds would not be fully utilized, thereby adversely
        affecting GE.

(Pl. Br. of Mar. 10, 2008, at 4.) Plaintiff’s submission of Charts 6 through 8 of
the joint demonstrative appear to be predicated on the relevance of the cash bonds


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         The IRC and IRS regulations permit the posting of non-interest bearing cash
 bonds to stop the running of underpayment interest. A graphical depiction of the
 functioning of cash bonds is included in the joint demonstrative as Chart 5.

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   Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 8 of 22



to the case. At oral argument on November 17, 2008, however, plaintiff’s
counsel seemed to indicate that the cash bonds were not necessarily integral to
a determination of the case and agreed to submit the supplemental demonstrative
composed of alternative versions of Charts 6 through 8 that did not take into
account the existence of the cash bonds but that depicted a reduction in tax
liability for the 1986 and 1987 accounts.

        The supplemental demonstrative appears to present basically the same
numbers as Charts 6 through 8 of the joint demonstrative but absent the cash
bonds. Charts 7A and 8A contain the same basic numbers as Charts 7 and 8, in
which plaintiff presents the overpayment and underpayment as unequal amounts
due to a reduction of tax liability in the 1986 and 1987 accounts resulting from a
2006 judicial redetermination of these tax years. In Chart 7A, the overpayment
exceeds the underpayment by 10% due to the judicial redetermination held
subsequent to the interest computations in 2000. Thus, after the overpayment is
credited against the underpayment, according to Section 6402(a), 10% of the
overpayment principal remains and begins to accrue interest at the overpayment
rate after the credit is made. The 10% remaining overpayment principal begins
to accrue interest only after the credit has been made because, with crediting under
Section 6402(a), the credit is treated as a payment of tax by the taxpayer and any
subsequent finding of an overpayment of tax due to the credit is treated as an
overpayment arising at the time of the credit. Although defendant denies the legal
accuracy of this chart and points to Chart 2 as an accurate depiction of the current
case, plaintiff advances Chart 7A as a representation of defendant’s view of
crediting given the judicial redetermination of the 1986 and 1987 accounts that
occurred subsequent to the 2000 interest computations.

        In Chart 8A, plaintiff presents its view of interest netting without the cash
bonds in light of the 2006 judicial redetermination of the 1986 and 1987 accounts.
Similar to Chart 7A, Chart 8A shows the overpayment amount exceeding the
underpayment amount by 10% for the period of overlap due to a nunc pro tunc
reduction of tax liability resulting from the 2006 judicial redetermination. Under
plaintiff’s view of interest netting, Chart 8A depicts both the larger overpayment
amount and the lower underpayment amount as accruing interest at the same
overpayment rate during the period of overlap. Thus, after the credit and the 2000
interest computations, the overpayment exceeds the underpayment by 10% of the
overpayment principal plus the accrued overpayment interest on this 10% of
principal. Unlike Chart 7A, where the credit is treated as an overpayment of tax
when the credit is made in 2000, Chart 8A shows the 10% overpayment remaining
after the 2000 interest computations as an overpayment existing at the beginning
of the overlap period, which accrues overpayment interest for the entire period of

                                         8
   Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 9 of 22



overlap under Section 6621(d). Essentially, plaintiff contends that a 2006 judicial
redetermination, which resulted in the reduction of tax liability for the 1986 and
1987 accounts, has a nunc pro tunc effect on the 1986 and 1987 accounts. This
nunc pro tunc reduction should control the computation of interest over and
against the credit and interest computations in 2000. Plaintiff would therefore
benefit from the overpayment interest on the 10% overpayment remaining after
the 2000 credit, which would accrue during the overlap period.

       At the end of the day, the advantage to plaintiff of using interest netting in
lieu of crediting remains unclear to the court. The parties gave up trying to
explain why it mattered, however, and urged the court to address the legal
question in the abstract. We therefore take it on faith that the outcome matters.

       Defendant phrases the issue in the following way:

       In the case of an overpayment with respect to plaintiff’s tax year
       1979, may the Internal Revenue Service credit the amount of such
       overpayment, including any interest allowed thereon, against any
       liability in respect of an internal revenue tax on the part of plaintiff
       with respect to its tax years 1986 and 1987?

(Def. Br. of Feb. 7, 2008, at 1.) The parties understand this to mean that, if the
IRS properly exercised its discretion in 2000 to credit plaintiff’s outstanding
overpayment for tax year 1979 to tax years 1986 and 1987, then the effect would
be to eliminate all interest on both the overpayment and underpayment for the
overlap period and thus preclude the application of interest netting.

        Plaintiff asserts that the crediting in 2000 of the 1979 overpayment to the
tax liabilities for 1986 and 1987 was improper or unlawful because plaintiff
previously had applied for and was therefore entitled to interest netting under
Section 6621(d) and the accompanying “special rule.” Plaintiff argues that the
provision for interest netting in Section 6621(d) is not only mandatory in situations
like the two scenarios depicted in Charts 3 and 4 but is mandatory in all situations
in which a taxpayer’s overpayments and underpayments overlap. Essentially,
plaintiff argues that the interest calculation provision in Section 6621(d) trumps,
and thus amends, the crediting authority dispensed in Section 6402(a) because
Section 6621(d) was adopted more recently than Section 6402(a). It therefore
implicitly limits the authority of the Commissioner to credit overpayments against
underpayments. Plaintiff provides no real support for its position, other than the



                                          9
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 10 of 22



fact that Section 6621(d) uses the term “shall” 6 while Section 6402(a) uses the
term “may.” 7 Plaintiff argues that “shall” is a mandatory term in the interest
computation statute which controls the interpretation of the permissive term,
“may,” in Section 6402(a), a crediting authorization statute.

       Defendant replies that Section 6621(d) only addresses the calculation of
interest in situations of overlapping overpayments and underpayments and in no
way addresses the authority of the Commissioner to credit an overpayment against
an outstanding tax liability. If the Commissioner chooses to credit an
overpayment, that ends the matter. There is therefore no more room for interest
netting to apply.

       Defendant argues that the chronology of events supports its position.
While the request for interest netting occurred prior to the actual posting of the
credits, the change in plaintiff’s circumstances that made netting useful to plaintiff
did not occur until much later. In other words, according to defendant, not only
would interest netting have to “trump” the Commissioner’s ability to apply
crediting at the time the credit is taken (here, 2000), it would have to continue to
do so indefinitely into the future at the insistence of the taxpayer, retroactively
canceling the credits and causing a recalculation of liabilities.

       In effect, plaintiff sets Section 6621(d) and Section 6402(a) at odds,
framing the question of crediting in this case as a choice between crediting under
Section 6402(a) or a refund and interest netting under Section 6621(d). We find
this argument unpersuasive because it presumes a nonexistent irreconcilable
conflict between the provisions.

        The two sections are not in conflict, if it is understood that, as a practical
matter, there is no room for the operation of Section 6621(d) if the Commissioner
has, through crediting, eliminated the dueling balances. Section 6621(d) then,
operates as a safety net, needed only if there is no prior crediting because there has
been a refund or tax payment. Thus there is no necessary conflict in the operation
of the two sections. The conflict only arises if one assumes, like plaintiff, that the

         6
          “To the extent that, for any period, interest is payable under subchapter A
 and allowable under subchapter B on equivalent underpayments and overpayments
 by the same taxpayer of tax imposed by this title, the net rate of interest under this
 section on such amounts shall be zero . . . .” Section 6621(d) (emphasis added).
         7
         “In the case of any overpayment, the Secretary, within the applicable
 period of limitations, may credit . . . .” Section 6402(a) (emphasis added).

                                          10
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 11 of 22



Commissioner’s discretion to credit disappears if plaintiff elects at any time, to
insist on interest netting.

        Section 6621(d) is a provision relating solely to the calculation of interest.
It is one of a skein of provisions in Section 6621 outlining the methods of
calculating interest in different situations. It does not address issues related to the
underlying tax liability. The term “shall” is used throughout Section 6621 and
should be viewed in the context of the other interest calculation provisions of
Section 6621 and not extended to conflict with other unrelated provisions of the
IRC. As defendant points out, it is difficult to see how Congress could have
drafted Section 6621(d) so as to require a standard for interest calculation in a
given situation in contrast to other possible methods of calculation without using
the term “shall.” If there is an outstanding balance of equal liabilities and
overpayments, then interest netting caps the maximum amount of interest owed
by either taxpayer or the government. “Shall” is the only word which works in
that context. But, there is no overlap of outstanding balances in the event the
Commissioner has elected to use crediting, hence there is no room for operation
of the interest cap and no conflict.

        In its surreply, plaintiff concedes that its view of the application of interest
netting is not necessarily contrary to the authority of the Commissioner to credit
the underlying tax payment, if not the interest, of an overpayment against an
outstanding tax liability. Although plaintiff maintains that the application of
interest netting under Section 6621(d) must alter the calculation of interest for the
credit in this case, there is no dispute that the crediting of principal under Section
6402(a) is not affected by the interest calculation provision in Section 6621(d).
Given the degree of discretion to credit the Commissioner has in Section 6402(a),
and the concession by the plaintiff that Section 6621(d) is not necessarily in
tension with the Commissioner’s authority to credit the underlying tax liabilities,
the court finds that Section 6621(d) does not amend Section 6402(a) so as to limit
the Commissioner’s discretion to credit anoverpayment against an outstanding tax
liability.

       Section 6402(a) gives the Commissioner broad authority to credit the 1979
overpayment amount against the 1986 and 1987 underpayment amounts and
thereby to eliminate all interest on these accounts to the extent of the credit
amount.8 As illustrated in Chart 2 of the joint demonstrative, the crediting of the


         8
             See Pettibone Corp. v. United States, 34 F.3d 536, 538 (7th Cir.1994)
                                                                       (continued...)

                                          11
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 12 of 22



1979 overpayment to the 1986 and 1987 underpayments eliminates the
underpayments in the 1986 and 1987 accounts in the amount of the 1979
overpayment and thus, for the purpose of the final interest calculations,
retroactively eliminates all interest on the 1979, 1986, and 1987 accounts for the
period during which the accounts overlap.

       Plaintiff, in its surreply, posits a different regime for the calculation of
interest when a credit is made by the Commissioner of an overpayment against an
outstanding underpayment and when the overpayment in question overlaps in time
with the underpayment. This regime is depicted graphically in Chart 6A of the
supplemental demonstrative. According to plaintiff, when an overpayment and
underpayment overlap in time and therefore meet the requirements for interest
netting under Section 6621(d), the Commissioner may still credit the overpayment
against the unpaid balance, but may not eliminate the accumulated interest for the
overlap period. In the current case, this would mean that, for the purpose of
interest calculation, the credit of the 1979 overpayment should be treated as taking
place in August of 2000 when the actual credit was applied and not as having
taken place on March 15, 1987 and March 15, 1988 when the 1986 and 1987
underpayments became outstanding. Plaintiff bases this interpretation on the use
of “shall” in Section 6621(d) as well Section 6601(f), which reads:

       If any portion of a tax is satisfied by credit of an overpayment, then
       no interest shall be imposed under this section on the portion of the
       tax so satisfied for any period during which, if the credit had not
       been made, interest would have been allowable with respect to such
       overpayment. The preceding sentence shall not apply to the extent
       that section 6621(d) applies.

(Emphasis added.)



       8
        (...continued)
 (stating that Section 6402(a) “leaves to the Commissioner's discretion whether to
 apply overpayments to delinquencies or to refund them to the taxpayer”); Estate of
 Bender v. Commissioner, 827 F.2d 884, 887 (3d Cir.1987) (stating that discretionary
 authority to credit under Section 6402(a) “rests exclusively with the IRS”); Georgeff
 v. United States, 67 Fed. Cl. 598, 608 (2005) (“From the plain language of the
 statute, the IRS has no obligation to credit any individual's tax overpayment to
 specific preexisting outstanding tax liabilities upon the taxpayer's request. The
 statute, 26 U.S.C. § 6402, gives the IRS the discretionary authority to credit tax
 overpayments to any tax liability.”).

                                          12
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 13 of 22



        Section 6601(f) provides the basis for cutting off interest on an
underpayment when an overpayment has been credited against that underpayment.
It is the parallel provision to Section 6611(b)(1), which cuts off the accrual of
overpayment interest as of the due date of the underpayment against which it is
credited. The above italicized sentence does not, however, appear in Section
6611(b)(1).

       The second sentence of Section 6601(f) was inserted as a “conforming
amendment” to the statute at the same time as the enactment of Section 6621(d),
and plaintiff argues that, by this amendment, Congress intended for underpayment,
and, presumably, overpayment, interest to continue to accrue despite a credit of
the overpayment principal. Thus, plaintiff interprets Section 6621(d) and Section
6601(f) as creating the regime it has in mind.

       The court is not persuaded that plaintiff’s interpretation of Sections 6621(d)
and 6601(f) is correct. First, Section 6601(f) deals solely with the effect of
crediting on underpayment interest, cutting off underpayment interest
retroactively “for any period during which, if the credit had not been made,
interest would have been allowable with respect to such overpayment.” Section
6611(b)(1). Section 6611(b)(1) of the IRC governs the effect of crediting on
overpayment interest and usually cuts off overpayment interest as of the “due date
of the amount,” or the due date of the underpayment, against which the credit is
applied. 26 U.S.C. § 6611(b)(1); Treas. Reg. § 301.6601-1(h)(2)(I).

        Section 6611(b)(1) was not amended by Congress along with Section
6601(f) as would be expected if one were to accept plaintiff’s interpretation.
Therefore, plaintiff’s regime does not hang together, when one looks at Section
6601(f) in combination with Section 6611(b)(1).              Indeed, if plaintiff’s
interpretation of 6601(f) is used in combination with the plain language of Section
6611(b)(1), this would require that, when the Commissioner credits under Section
6402(a) an overpayment against an underpayment and the overpayment and
underpayment overlap, interest on the overpayment would be cut off retroactively
at the due date of the underpayment against which the overpayment was credited,
but incongruously, underpayment interest would continue to accrue. Plaintiff is
thus forced to argue for an implied amendment to yet another IRC provision, a
provision that the legislature would have almost certainly overtly amended had it
envisioned the regime posited by plaintiff. Thus, we agree with defendant that the
“conforming amendment” to Section 6601(f) is intended to make it clear that a
taxpayer may not have the benefit of both the zero net interest rate through Section
6621(d) and the elimination of underpayment interest through Section 6601(f).


                                         13
  Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 14 of 22



        In addition, the fact that there is no indication in the statutes in question as
to the proper interest rate to be used in the calculation of interest under plaintiff’s
proposed regime militates against the validity of the plaintiff’s position. Certainly,
there is no indication in the statutes of whether to use the underpayment rate or the
overpayment rate. At oral argument on November 17, 2008, plaintiff’s counsel
indicated that the court, or perhaps the IRS, could choose either to apply the
overpayment rate or the underpayment rate at random. This, however, leaves
Section 6621(d), an interest computation statute, without a regular method by
which to determine the applicable rate.

        Again, there is no mention whatsoever in the legislative history of Section
6621(d) or the conforming amendment to Section 6601(f) of anything approaching
the radical change in the authority of the Commissioner to make credits or of the
regime of interest calculation proposed by plaintiff. Considering that the
plaintiff’s interpretation of Section 6621(d) and Section 6402(a) would become
the present standard for credits by the Commissioner of an overpayment against
underpayment, when the overpayments and underpayments overlap, this omission
is striking. It suggests that plaintiff’s construction was not within Congress’
intent. For the foregoing reasons, the court finds that the Commissioner has the
full authority and discretion under Section 6402(a) to credit the 1979 overpayment
against the 1986 and 1987 underpayments and to compute interest retroactively
in accordance with Section 6611(b)(1) and the first sentence of Section 6601(f).
Sections 6621(d) and the second sentence of Section 6601(f) do not limit the
discretion of the Commissioner to make such a credit and to compute interest
accordingly. Thus, the Commissioner’s credit and interest computations in 2000
are upheld.

                                   CONCLUSION

       The court finds that the Commissioner’s crediting of the 1979 overpayment
against the outstanding 1986 and 1987 underpayment amounts was proper under
Section 6402(a) of the IRC and was not limited by Sections 6621(d) and 6601(f).
Accordingly, defendant’s motion is granted. The clerk is directed to dismiss the
complaint with prejudice pursuant to RCFC 12(c).




                                               s/Eric G. Bruggink
                                               ERIC G. BRUGGINK
                                               Judge


                                          14
                                                                                                          Basic Interest Computations
                                                                                                      No Crediting or Netting and No Bond
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 15 of 22




                                                                                                        1/1/04          1/1/05         1/1/06                    1/1/07
                                                                                                                                                                                         Taxpayer receives
                                                                                                                                                                                             $11,093 in
                                                                                                      Overpayment    Overpayment     Overpayment              Overpayment               overpayment interest
                                                                  1979                                 $100,000       $100,000        $100,000                 $100,000                 between 1/1/04 and
                                                                  Tax                                                                                                                         1/1/07.
                                                                  Year                                               Acc. Interest   Acc. Interest            Acc. Interest
                                                                                                                       $2,023          $5,668                   $11,093
                                                                              An overpayment of
                                                                              $100,000 for 1979
                                                                            arises on 1/1/04 and is
                                                                             refunded on 1/1/07.
                     APPENDIX A




                                                                                                                                                     There is a net balance of $8,652
                                                                                                                                                         due from the taxpayer.
                                                                                                                                                                                           Taxpayer pays
                                                                  1986                                                                                                                       $19,745 in
                                                                  Tax                                 Underpayment                                           Underpayment                  underpayment
                                                                                                                     Underpayment    Underpayment
                                                                                                                                                                                          interest between
                                                                  Year                                  $100,000       $100,000        $100,000                $100,000
                                                                                                                                                                                         1/1/04 and 1/1/07.
                                                                                                                     Acc. Interest   Acc. Interest            Acc. Interest
                                                                          An underpayment of
                                                                                                                       $4,605          $11,085                  $19,745
                                                                           $100,000 for 1986
                                                                         arises on 1/1/04 and is
                                                                         paid by the taxpayer on
                                                                                  1/1/07.
                                                                         At all relevant times, the underpayment interest rate was a minimum of 2 percentage points higher
                                                                         than the overpayment interest rate.
                                                                                                                                                                                                Chart 1
                                                                                  Interest Computation Where Underpayment is Satisfied
                                                                                              By Crediting of Overpayment
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 16 of 22




                                                                                                         1/1/04               1/1/05                       1/1/06                  1/1/07
                                                                                                       Overpayment         Overpayment                  Overpayment              Overpayment
                                                                  1979                                  $100,000            $100,000                     $100,000                 $100,000
                                                                  Tax
                                                                  Year
                                                                             An overpayment of                                                                                                      $100,000 is
                                                                         $100,000 for 1979 arises on                                                                                            transferred from the
                                                                           1/1/04 and on 1/1/07 is                                                                                              1979 account to the
                                                                                                                      Crediting on 1/1/07 eliminates both overpayment interest
                                                                             credited against an                                                                                                   1986 account.
                                                                         underpayment of $100,000                             and underpayment interest as of 1/1/04
                                                                           for 1986 that arose on
                                                                                   1/1/04.
                                                                  1986
                                                                  Tax                                  Underpayment       Underpayment                  Underpayment             Underpayment
                                                                  Year                                   $100,000           $100,000                      $100,000                 $100,000
                                                                          Plaintiff has joined Defendant in submitting this chart because it depicts how Defendant would apply
                                                                          crediting if it prevails in the pending case.
                                                                                                                                                                                                          Chart 2
                                                                                                Interest Netting Where Overpayment
                                                                                           Is Refunded Before Underpayment Is Satisfied
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 17 of 22




                                                                                                    1/1/04          1/1/05         1/1/06          1/1/07
                                                                                                  Overpayment    Overpayment     Overpayment     Overpayment                  The taxpayer
                                                                  1979                             $100,000       $100,000        $100,000        $100,000                     receives a
                                                                  Tax                                                                                                            total of
                                                                  Year                                           Acc. Interest   Acc. Interest   Acc. Interest                $111,093 on
                                                                                                                   $2,023          $5,668          $11,093                       1/1/07.
                                                                             An overpayment of
                                                                             $100,000 for 1979
                                                                              arises on 1/1/04.
                                                                  1986
                                                                  Tax                             Underpayment   Underpayment    Underpayment    Underpayment
                                                                  Year                              $100,000       $100,000        $100,000        $100,000
                                                                                                                 Acc. Interest   Acc. Interest   Acc. Interest
                                                                                                                   $2,023          $5,668          $11,093
                                                                        After the refund for
                                                                      1979 has been paid, it
                                                                     is determined that there
                                                                      is an underpayment of
                                                                                                                                                       Underpayment interest accrues at
                                                                      $100,000 for 1986 that
                                                                                                                                                       the lower overpayment rate for the
                                                                          arose on 1/1/04.
                                                                                                                                                           period of overlap and at the
                                                                                                                                                       underpayment rate thereafter until
                                                                                                                                                         the underpayment obligation is
                                                                                                                                                                     satisfied.
                                                                                                                                                                                   Chart 3
                                                                                       Interest Netting Where Underpayment is Satisfied
                                                                                                Before Overpayment Is Refunded
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 18 of 22




                                                                                                           1/1/04          1/1/05         1/1/06          1/1/07
                                                                                                         Overpayment    Overpayment     Overpayment     Overpayment
                                                                  1979                                    $100,000       $100,000        $100,000        $100,000
                                                                  Tax
                                                                  Year                                                  Acc. Interest   Acc. Interest   Acc. Interest
                                                                                                                          $4,605          $11,085         $19,745
                                                                            After the underpayment
                                                                               for 1986 has been
                                                                           satisfied, it is determined                                                        Overpayment interest accrues at the
                                                                                 that there is an                                                              higher underpayment rate for the
                                                                           overpayment of $100,000                                                                period of overlap and at the
                                                                            for 1979 that arose on                                                            overpayment rate thereafter until the
                                                                                     1/1/04.                                                                       overpayment is refunded.
                                                                  1986
                                                                  Tax                                    Underpayment   Underpayment    Underpayment    Underpayment
                                                                  Year                                     $100,000       $100,000        $100,000        $100,000                    The taxpayer
                                                                                                                                                                                       pays a total
                                                                                                                        Acc. Interest   Acc. Interest   Acc. Interest                 of $ 119,745
                                                                   An underpayment of $100,000                            $4,605          $11,085         $19,745                       on 1/1/07.
                                                                     for 1986 arises on 1/1/04.
                                                                                                                                                                                           Chart 4
                                                                                         Use of a Deposit in the Nature of a Cash Bond
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 19 of 22




                                                                                                     1/1/04            1/1/05             1/1/06            1/1/07
                                                                  1979
                                                                  Tax
                                                                  Year
                                                                                                                                                                           The bond stops the running of
                                                                                                                                                                            underpayment interest. When
                                                                                                                                                                           the underpayment is assessed
                                                                                                                                                                         on 1/1/07, $104,605 of the bond
                                                                                                                                                                         is converted into a payment that
                                                                                                                                                                             satisfies the underpayment
                                                                                                                                                                         liability and $5,395 is returned to
                                                                                                                                                                            the taxpayer without interest.
                                                                  1986
                                                                  Tax                              Underpayment    Underpayment         Underpayment    Underpayment
                                                                  Year                               $100,000        $100,000             $100,000        $100,000
                                                                                                                    Acc. Interest       Acc. Interest    Acc. Interest
                                                                                                                      $4,605              $4,605           $4,605
                                                                           An underpayment of
                                                                            $100,000 for 2002
                                                                           arises on 1/1/04. On
                                                                         1/1/05 taxpayer posts a
                                                                          bond in the amount of
                                                                                                                                                                                             $5,395 is
                                                                              $110,000. The                           $110,000                                                               returned
                                                                             underpayment is                        bond posted to                        $104,605 of                           to the
                                                                           assessed on 1/1/07.                           stop                           bond converted to                    taxpayer
                                                                                                                  running of interest                      a payment.                          without
                                                                                                                     on $110,000.                                                             interest.
                                                                                                                                                                                                Chart 5
                                                                                                 Interest Netting Where Overpayment Is
                                                                                                Used to Satisfy Underpayment – No Bond
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 20 of 22




                                                                                                    1/1/04                 1/1/05                 1/1/06                  1/1/07
                                                                                                  Overpayment           Overpayment             Overpayment             Overpayment
                                                                  1979                             $100,000              $100,000                $100,000                $100,000
                                                                  Tax
                                                                  Year                                                   Acc. Interest          Acc. Interest           Acc. Interest
                                                                                                                           $2,023                 $5,668                  $11,093
                                                                           An overpayment of
                                                                           $100,000 for 1979
                                                                                                                                                                                          $111,093 is transferred
                                                                            arises on 1/1/04.
                                                                                                                                                                                         from the 1979 account to
                                                                                                                                                                                           fully satisfy the amount
                                                                                                                                                                                               owed in the 1986
                                                                                                                                                                                                   account.
                                                                  1986
                                                                  Tax                             Underpayment          Underpayment           Underpayment             Underpayment
                                                                  Year                              $100,000              $100,000               $100,000                 $100,000
                                                                                                                         Acc. Interest          Acc. Interest           Acc. Interest
                                                                          An underpayment                                  $2,023                 $5,668                  $11,093
                                                                           of $100,000 for
                                                                           1986 arises on
                                                                               1/1/04.
                                                                         When interest netting applies, IRS practice is to satisfy the statutory requirement that the “net rate of interest …shall
                                                                         be zero” on equivalent underpayment and overpayment amounts by reducing the underpayment rate to equal the
                                                                         overpayment rate during the overlap period, as is done here. Alternatively, in appropriate cases, the overpayment
                                                                         rate could be increased to equal the underpayment rate during the overlap period.
                                                                                                                 See notes on Chart 6A, next page.
                                                                                                                                                                                                      Chart 6A
                                                                            Effect of Crediting In Light of Reduction of Underpayment –
                                                                            Overpayment Exceeds Corrected Underpayment – No Bond
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 21 of 22




                                                                                                    1/1/04                 1/1/05                        1/1/06                  1/1/07                        1/1/08
                                                                                                  Overpayment                                         Overpayment                                         Before the 1986
                                                                                                                        Overpayment                                           Overpayment
                                                                  1979                             $100,000              $100,000                      $100,000                $100,000
                                                                                                                                                                                                         underpayment was
                                                                  Tax                                                                                                                                 reduced, $100,000 had
                                                                                                                                                                                                       been transferred from
                                                                  Year                                                                                                                                  the 1979 account to
                                                                                                                                                                                                         the 1986 account.
                                                                                                                   Crediting on 1/1/07 eliminates both overpayment interest                                 As of 1/1/08, the
                                                                                                                           and underpayment interest as of 1/1/04                                            taxpayer would
                                                                                                                                                                                                            receive a total of
                                                                                                                                                                                                                $10,565.
                                                                  1986
                                                                  Tax                             Underpayment         Underpayment                  Underpayment             Underpayment                   Overpayment
                                                                  Year                              $90,000              $90,000                       $90,000                  $90,000                        $10,000
                                                                             On 1/1/08, the
                                                                         taxpayer prevails on a                                                                                                              Acc. Interest
                                                                             disputed issue,                                                                                                                    $565
                                                                           causing the original
                                                                         1986 underpayment of
                                                                          $100,000 (shown on
                                                                                                                                                                                    Under crediting, the $100,000
                                                                             Chart 6A) to be
                                                                                                                                                                                  overpayment in the 1979 account
                                                                          reduced to $90,000.
                                                                                                                                                                                    was applied to satisfy the 1986
                                                                                                                                                                                underpayment of $100,000 (as shown
                                                                                                                                                                                  on Chart 6A) on 1/1/07. Since the
                                                                                                                                                                               1986 underpayment was later reduced
                                                                                                                                                                               from $100,000 to $90,000, the result is
                                                                                                                                                                                 an excess amount of $10,000 in the
                                                                                                                                                                                1986 account. That amount became
                                                                                                                                                                                    an overpayment for 1986 as of
                                                                                                                                                                                   1/1/07. It accrues interest at the
                                                                                                                                                                                overpayment rate from that date until
                                                                                                                                                                                               refunded.
                                                                                                                 See notes on Chart 7A, next page.
                                                                                                                                                                                                                 Chart 7A
                                                                   Effect of Interest Netting In Light of Reduction of Underpayment –
                                                                      Overpayment Exceeds Corrected Underpayment – No Bond
Case 1:06-cv-00489-EGB Document 45 Filed 02/13/09 Page 22 of 22




                                                                                                    1/1/04               1/1/05             1/1/06                       1/1/07                        1/1/08
                                                                                                  Overpayment         Overpayment         Overpayment                 Overpayment
                                                                  1979                             $100,000            $100,000            $100,000                    $100,000
                                                                  Tax
                                                                  Year                                                 Acc. Interest      Acc. Interest                Acc. Interest
                                                                                                                         $2,023             $5,668                       $11,093
                                                                                                                                            Before the 1986                                          On 1/1/08, the
                                                                                                                                           underpayment was                                         taxpayer would
                                                                                                                                        reduced, $111,093 had                                      receive a total of
                                                                                                                                         been transferred from                                         $11,737.
                                                                                                                                          the 1979 account to
                                                                                                                                           the 1986 account.
                                                                  1986
                                                                  Tax                             Underpayment        Underpayment       Underpayment                 Underpayment                  Overpayment
                                                                  Year                              $90,000             $90,000            $90,000                      $90,000                       $11,109
                                                                             On 1/1/08, the
                                                                         taxpayer prevails on a                        Acc. Interest      Acc. Interest                Acc. Interest                 Acc. Interest
                                                                             disputed issue,                             $1,821             $5,101                       $9,984                         $628
                                                                           causing the original
                                                                         1986 underpayment of
                                                                          $100,000 (shown on
                                                                             Chart 6A) to be                                                                    Under netting, the $100,000 overpayment and
                                                                          reduced to $90,000.                                                                  $11,093 of accrued interest in the 1979 account
                                                                                                                                                                 would have been applied to satisfy the 1986
                                                                                                                                                             underpayment of $100,000 and accrued interest of
                                                                                                                                                             $11,093 (as shown on Chart 6A) on 1/1/07. Since
                                                                                                                                                               the 1986 underpayment was later reduced from
                                                                                                                                                                $100,000 to $90,000, accrued underpayment
                                                                                                                                                             interest was reduced from $11,093 to $9,984. The
                                                                                                                                                              result is an excess amount of $11,109 in the 1986
                                                                                                                                                             account. That amount became an overpayment for
                                                                                                                                                                 1986 as of 1/1/07. It accrues interest at the
                                                                                                                                                               overpayment rate from that date until paid to the
                                                                                                                                                                                   taxpayer.
                                                                                                                 See notes on Chart 8A, next page.
                                                                                                                                                                                                         Chart 8A
